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                                 UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW JERSEY

SADEK & COOPER
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Philadelphia, PA 19107
(856) 890-9003; Fax (215) 545-0611
Attorneys for Debtor

In re:                                :      IN BANKRUPTCY
                                      :      CHAPTER 13
Osiris Padilla                        :
                                      :
                                      :      CASE NO. 18-25358 (JNP)
                        Debtor(s)     :
                                      :      Hearing Date: September 21, 2021 at 11:00 AM
                                      :      ORAL ARGUMENT WAIVED

                  NOTICE OF MOTION TO VACATE STAY ORDER AND REINSTATE
                    THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 105 AS TO
                  US BANK TRUST NA as TRUSTEE of DWELLING SERIES IV TRUST
TO:
         United States Trustee’s Office
         One Newark Center, Suite 2100
         Newark, NJ 07102

         Isabel C. Balboa, Trustee
         Office of the Chapter 13 Standing Trustee
         535 Route 38, Suite 580
         Cherry Hill, NJ 08002

         US Bank Trust NA as Trustee of Dwelling Series Iv Trust
         Attn: President/CEO/Bankruptcy Dept.
         15480 Laguna Canyon Road
         Irvine, CA 92618

         US Bank Trust NA as Trustee of Dwelling Series Iv Trust
         Attn: Parke McCay
         9000 Midlantic Drive, Ste 300
         Mt. Laurel, NJ 08054


         PLEASE TAKE NOTICE that on September 21, 2018 at 10:00 AM in the forenoon, or as soon

thereafter as counsel may be heard, the undersigned attorney for Debtor will move before the Honorable Jerrold

N. Poslusny, United States Bankruptcy Judge, United States Bankruptcy Court, 1 John F. Gerry Plaza, 4th &

Cooper, 4th Floor, Camden, New Jersey 08101, for an Order Vacating Stay Order and Reinstating the Automatic
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Stay as to US Bank Trust NA as Trustee of Dwelling Series IV Trust, and for any other and further relief as

may be fair and equitable.

         PLEASE TAKE FURTHER NOTICE that, at the return date herein, the undersigned will rely on the

annexed Certification.

         PLEASE TAKE FURTHER NOTICE that any and all objections to the relief requested herein must be

filed with the Court and served on the undersigned no later than seven (7) days prior to the hearing date set forth

above.

         Pursuant to D.N.J. LBR 9013-2, the undersigned counsel certifies that no brief is required, as the issues

are primarily factual and the facts necessary to rule on this motion have been set forth in the attached

Certification. Counsel further requests that this matter be heard on the papers unless opposition is filed or the

Court requests oral argument.



                                                      SADEK & COOPER
                                                      Attorneys for Debtors

Dated: August 19, 2021                         By:    /s/ Jeanie D. Wiesner
                                                       Jeanie D. Wiesner, Esq.
